                    UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF TENNESSEE
                         NASHVILLE DIVISION
                                  )
 UNITED STATES OF AMERICA,        )
                                  )
      v.                          )
                                  ) No. 3:19-cr-00253
 ANTRON LEWIS,                    ) Judge Marvin E. Aspen
                                  )
      Defendant.                  )
                                  )

                         MEMORANDUM OPINION AND ORDER

MARVIN E. ASPEN, District Judge:

       This is a supplementary memorandum to the sentencing order entered orally on

September 23, 2020, in which we set forth the reasons why we imposed a consecutive sentence.

       Defendant Antron Lewis pleaded guilty to threatening to assault or murder a federal law

enforcement officer (Count I) and assaulting, resisting, opposing, impeding, intimidating, and

interfering with a federal law enforcement officer (Count II) in violation of 18 U.S.C §§ 111(a)

and 115(a)(1)(B). We sentenced Defendant to 33 months’ imprisonment for each count, to run

concurrently with each other, and to run consecutively to Defendant’s sentence for violation of

supervised release in USA v. Lewis, 3:11-cr-00248, Dkt. No. 107. (See Dkt. No. 41.) Following

his term of imprisonment for the two counts, Defendant will have two years of supervised release

for each count to run concurrently with each other. (Id.) Defendant will also be required to pay

the mandatory special assessment. (Id.) In reaching our decision, we considered all materials

submitted by the probation office, the government, and Defendant, as well as statements made

during the September 23, 2020 sentencing hearing.




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    A. The Imposition of a Consecutive Sentence

       The Sentencing Guidelines prescribe a range of 33 to 41 months for Defendant’s crimes.

(See Dkt. No. 34 at 1.)1 The Probation Department has recommended, and the government has

agreed, that Defendant should be sentenced to 38 months, running consecutively to the

revocation sentence imposed in USA v. Lewis, Case No. 3:11-cr-00248. (See Dkt. No. 34 at 1.)

Defendant argued that he should be sentenced to 31 months, running concurrently with the

sentence imposed in USA v. Lewis, Case No. No. 3:11-cr-00248, with credit for time served since

he was sentenced in that case, stemming back to September 11, 2019. (Dkt. No. 27 at 4–5; Dkt.

No. 28 at 3, 5.)

       In their papers, the parties disagreed as to whether U.S.S.G. § 5G1.3(b) or (d) applies to

the instant case; however, during oral argument, both parties agreed that U.S.S.G. § 5G1.3(d)

applies. We agree with the parties that § 5G1.3(d) applies. Section 5G1.3(d) provides that “[i]n

any other case involving an undischarged term of imprisonment, the sentence for the instant

offense may be imposed to run concurrently, partially concurrently, or consecutively to the prior

undischarged term of imprisonment to achieve a reasonable punishment for the instant offense.”

Accordingly, in this case, we have discretion as to whether to impose a sentence for Counts I and

II that runs concurrently, partially concurrently, or consecutively with the sentence imposed in

USA v. Lewis, Case No. 3:11-cr-00248.

       We have concluded that a consecutive sentence is appropriate. To begin, we find

persuasive, but not binding, the Sentencing Commission policy statement found in U.S.S.G.

§ 7B1.3(f) (“Revocation of Probation or Supervised Release”) 2 and Application Note 4 of


1
 Defense counsel agreed with this calculation during the September 23, 2020 hearing.
2
 District courts “‘must consider § 7B1.3(f) when it is applicable….’” United States v. King, 914
F.3d 1021, 1025 (6th Cir. 2019) (quoting United States v. Johnson, 640 F.3d 195, 208 (6th Cir.
2011)).
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U.S.S.G. § 7B1.3, which state, respectively:

               Any term of imprisonment imposed upon the revocation of
               probation or supervised release shall be ordered to be served
               consecutively to any sentence of imprisonment that the defendant
               is serving, whether or not the sentence of imprisonment being
               served resulted from the conduct that is the basis of the revocation
               of probation or supervised release.

U.S.S.G. § 7B1.3(f).

               Subsection (f) provides that any term of imprisonment imposed
               upon the revocation of probation or supervised release shall run
               consecutively to any sentence of imprisonment being served by the
               defendant. Similarly, it is the Commission’s recommendation that
               any sentence of imprisonment for a criminal offense that is
               imposed after revocation of probation or supervised release be run
               consecutively to any term of imprisonment imposed upon
               revocation.

U.S.S.G. § 7B1.3, cmt. n. 4 (emphasis added). The Sentencing Guidelines recommend

consecutive sentences where a defendant is sentenced for a criminal offense that is imposed after

a revocation of supervised release, even where there is overlap between the conduct underlying

the revocation and the criminal offense. See U.S.S.G. § 7B1.3(f); U.S.S.G. § 7B1.3, cmt. n. 4.

Such is the case here.

       Defendant argued that a consecutive sentence would be unduly punitive and would

violate the double jeopardy clause of the U.S. Constitution because Defendant has already been

sentenced to a term of 30 months for his violations of supervised release; the 30-month sentence

was predicated, at least in part, on the commission of the crimes charged here; and his sentence

would not have been as lengthy if not for the conduct charged here. (Dkt. No. 27 at 2–4.)

       We acknowledge that there is factual overlap between the conduct that led to Defendant’s

sentence in USA v. Lewis, Case No. 3:11-cr-00248, and the instant case. However, Defendant

was punished for numerous violations in USA v. Lewis, Case No. 3:11-cr-00248, in addition to

the conduct at issue in this case, including, but not limited to, committing additional crimes (e.g.,

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simple possession/casual exchange, in violation of T.C.A. 39-17-418), unlawful use of controlled

substances, and failure to complete a program of drug testing and substance abuse treatment. See

USA v. Lewis, Case No. 3:11-cr-00248, Dkt. Nos. 102 and 107. Further, none of the conduct in

Count II of the instant case was considered by the court in USA v. Lewis, Case No. 3:11-cr-

00248, when issuing its sentence for the violations of supervised release. Id.

       Moreover, the sentence imposed in this case is intended to address a different harm than

was addressed in USA v. Lewis, Case No. 3:11-cr-00248. A sentence for a violation of

supervised release is effectively part of the sentence for the crime of which Defendant was

originally charged and convicted. See Johnson v. United States, 120 S.Ct. 1795, 1801 (2000)

(attributing “postrevocation penalties to the original conviction”); United States v. Wheeler, 330

F.3d 407, 411–12 (6th Cir. 2003) (observing that postrevocation penalties should be attributed to

the original conviction “even if, as in this case, the acts underlying a revocation are criminal in

their own right or the basis for separate prosecution”). In this case, that means that the sentence

that Defendant received in USA v. Lewis, Case No. 3:11-cr-00248, relates back to the crime for

which he was originally convicted. The sentence imposed here is intended to punish two new

crimes that Defendant committed while on supervised release.

       District courts of the Sixth Circuit have consistently imposed, and the Sixth Circuit Court

of Appeals has affirmed, consecutive sentences where a defendant has committed crimes while

on supervised release or parole, even where there is some factual overlap between the crimes

committed and the violations of supervised release. See, e.g., United States v. Burton, 802 Fed

App’x 896, 908–10 (6th Cir. 2020); King, 914 F.3d at 1024–26.3 In Burton, the Sixth Circuit



3
 This approach is also consistent with the approach taken in other circuits. See, e.g., United
States v. Fernandez, 749 Fed. App’x. 48, 49–50 (2nd Cir. 2018). In Fernandez, the Second
Circuit held that “the district court had discretion to impose a sentence [for violation of
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affirmed a sentence requiring the defendant to serve his federal sentence consecutively to a state

sentence for a parole violation where defendant contended that the state parole violation and

federal offenses stemmed from the same course of conduct. See Burton, 802 Fed App’x at 908–

10. In King, the Sixth Circuit affirmed a sentence requiring the defendant to serve a sentence for

supervised release violations consecutively to a sentence for federal drug crimes where the

defendant had committed federal drug crimes while on supervised release, and the federal drug

crimes were listed among other violations in a supervised release violation report considered by

the court prior to sentencing. See King, 914 F.3d at 1024–26. Accordingly, the imposition of a

sentence here, to run consecutive with the sentence in USA v. Lewis, Case No. 3:11-cr-00248, is

not unfair, excessive, or violative of the double jeopardy clause.



IT IS SO ORDERED.




                                      _______________________________________________
                                      Honorable Marvin E. Aspen
                                      UNITED STATES DISTRICT JUDGE
Dated: October 2, 2020




supervised release] to run consecutively to the undischarged state sentence of imprisonment, and
there was no procedural error in doing so” where the state offense was the basis of the violation
of supervised release. Id.
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